                                                20-985M(NJ)




July 15, 2020




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             AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                  AND ARREST AND SEARCH WARRANTS

      I, Christopher Farrell, being first duly sworn, hereby depose and state as

follows:

                 INTRODUCTION AND AGENT BACKGROUND

      1.      I make this affidavit in support of an application for (1) a criminal

complaint and arrest warrant for JEFFREY R. JONES, a/k/a JEFFERY JONES,

(DOB: XX/XX/1984); and (2) a warrant, pursuant to Rule 41 of the Federal Rules of

Criminal Procedure, to search the premises known as 824 S. 18th Street,

Milwaukee, Wisconsin, hereinafter referred to as “PREMISES 1,” and 1522 W.

Orchard Street, Apartment 10, Milwaukee, Wisconsin, hereinafter referred to

as “PREMISES 2,” both PREMISES further described in Attachment A, for the

things described in Attachment B.

      2.      I am a Special Agent with the Federal Bureau of Investigation and

have been since August of 2008. I have been assigned to the Southeastern

Wisconsin Regional Gang Task Force since September of 2019. I was previously

assigned to the Louisville and Pittsburgh Field Offices. Prior to being employed

with the FBI, I was a police officer for approximately six and a half years. I am an

investigator or law enforcement officer of the United States within the meaning of

18 U.S.C. Section 2510(7), in that I am empowered by the law to conduct

investigations of and to make arrests for federal felony arrests.
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      3.      As a Special Agent, I have attended training courses that specialized in

the investigation of narcotics trafficking and money laundering. I have also

participated in the investigation of narcotics-related offenses, resulting in the

prosecution and conviction of individuals and the seizure of illegal drugs, weapons,

United States currency, and other evidence of criminal activity. Additionally, I have

spoken with other experienced narcotics investigators on numerous occasions

concerning the method and practices of drug traffickers and money launderers.

Through these investigations, my training and experience, and conversations with

other law enforcement personnel, I have become aware of the methods used by drug

traffickers to manufacture, smuggle, safeguard, and distribute narcotics, and to

collect and launder trafficking-derived proceeds. I am also familiar with the actions,

habits, traits, methods, and terminology used by the traffickers and abusers of

controlled substances. More specifically, I am familiar with the street names of

various drugs, including marijuana, heroin, cocaine, and cocaine base. I am

familiar with methods that are commonly used by drug dealers to package and

prepare controlled substances for sale in the State of Wisconsin and elsewhere.

      4.      As a narcotics investigator, I have participated in all aspects of drug

investigations, including physical surveillance, execution of search warrants,

undercover operations, court-ordered wiretaps, analysis of phone and financial

records, and the arrests of numerous drug traffickers. I have worked with numerous

informants in the investigation of drug trafficking in the State of Wisconsin and

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elsewhere. I have directed informants during controlled buys of controlled

substances, performed undercover meetings with individuals, and made monetary

payments to drug traffickers for past controlled substances received. I have

participated in the execution of numerous state and federal search warrants in

which controlled substances, drug paraphernalia, drug proceeds, drug-related

records, financial records, and electronic devices with data were seized. I know that

drug traffickers commonly have in their possession, and at their residences and

other locations where they exercise dominion and control, firearms, ammunition,

and records or receipts pertaining to such. I also know that it is common for drug

traffickers to use their vehicles to store, secrete, and otherwise possess various

indicia of drug trafficking. I have also been the affiant of many search warrants. I

have interviewed many individuals involved in drug trafficking and have obtained

information from them regarding acquisition, sale, importation, manufacture, and

distribution of controlled substances.

      5.      In the course of my employment and experience, I have also become

aware of techniques and practices used by narcotics traffickers to avoid detection by

law enforcement. Examples of those techniques include the use of multiple

locations to conduct narcotics related activities, the use of counter-surveillance, the

use of hidden compartments in vehicles to conceal narcotics and currency, the use of

mobile telephones, voice mail, texting, instant messaging, email, the

compartmentalized use of multiple telephones, and the use of numerous associates

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and “workers” to further their criminal organization. I have also become aware of

the various techniques individuals use to conceal the source or nature of drug

proceeds. Examples of those techniques include the purchase of assets and financial

instruments in nominee names using cash and “structuring” transactions to avoid

certain reporting requirements of financial institutions.

      6.      Based upon my training and experience, I know that computer

hardware and software may be important to a criminal investigation in two distinct

and important respects: (1) the objects themselves may be instrumentalities, fruits,

or evidence of crime, and/or (2) the objects may have been used to collect and store

information about crimes (in the form of electronic data). Rule 41 of the Federal

Rules of Criminal Procedure permits the government to search and seize computer

hardware and software which are (1) instrumentalities, fruits, or evidence of crime,

or (2) storage devices for information about crime.

      7.      To this end, based upon my training and experience, I know that

individuals involved in drug trafficking frequently use cellular telephones to

maintain contact and arrange transactions with their sources and customers of and

co-conspirators in the distribution of controlled substances. I have also found it very

common for crime suspects to use their cellular telephones to communicate aurally

or via electronic message in “text” format with individuals whom they purchase,

trade, or otherwise negotiate to obtain illegal drugs. I also believe that it is common

for crime suspects who possess illegal controlled substances and firearms to often

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take or cause to be taken photographs and other visual depictions of themselves,

their associates, and the illegal controlled substances and firearms that they

control, possess, buy, and sell.

      8.      The facts in this affidavit come my personal observations, my training

and experience, my review of oral and written reports of other law enforcement

officers participating in this and related investigations, records, documents, and

other evidence obtained during this investigation. The investigation to date has

involved traditional law enforcement methods, including, but not limited to

confidential informants, interviews, documentary evidence, phone analysis, and

physical surveillance.

      9.      The facts in this affidavit come my personal observations, my training

and experience, my review of documents, and information obtained from other law

enforcement agents and witnesses. This affidavit is intended to show merely that

there is probable cause for the requested warrant and does not set forth all of my

knowledge about this matter.

                                   PROBABLE CAUSE

      10.     The United States, including the FBI and the FBI’s Southeastern

Wisconsin Regional Gang Task Force, are conducting a criminal investigation of

JEFFREY R. JONES, a/k/a JEFFERY JONES, (date of birth: XX/XX/1984)

regarding possible violations of Title 21, United States Code, Section 841(a)(1)

(distribution of and possession with intent to distribute controlled substances).

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      A.      Confidential Source #1

      11.     In January 2020, case agents interviewed a confidential source (CS

#1). CS #1 stated “R.J.” is a Gangster Disciple gang member who is selling heroin

and fentanyl. CS #1 indicated CS #1 purchased narcotics from R.J. in the past and

would be able to purchase narcotics again from R.J. CS #1 indicated R.J. drives a

black Nissan Maxima with Illinois plates. CS #1 indicated R.J. was currently in

possession and known to use phone number (414) 810-9473,1 the 9473 Phone, to

facilitate illegal narcotics transactions. A case agent showed a single Milwaukee

Police Department booking photograph of JEFFREY R. JONES, a/k/a JEFFERY

JONES, (date of birth: XX/XX/1984) to CS #1. CS #1 positively identified the

photograph as the person CS #1 knew as “R.J.”

      12.     On February 3, 2020, case agents interviewed CS #1 again. CS #1

stated CS #1 has purchased fentanyl from JONES since 2015. CS #1 has purchased

a minimum of 10 grams of fentanyl at least 40 times since 2015. CS #1 advised CS

#1 has purchased 70 grams of fentanyl between seven and eight times. Overall, CS

#1 believed CS #1 purchased half a brick, or half of a kilogram, of pure fentanyl

from JONES since 2015. CS #1 advised JONES has been using the 9473 Phone for

the last three to four years.



1Phone number (414) 810-9473 is subscribed to JEFFREY JONES with address 3045 N.
11th Street in Milwaukee, Wisconsin.



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      13.     Case agents believe CS #1 is reliable and credible. First, CS #1 has

provided information and cooperated with law enforcement since October 2019.

Second, CS #1’s information is consistent with case agent’s knowledge of violent

gang subjects in Milwaukee, Wisconsin. Furthermore, substantial portions of CS

#1’s information has been corroborated in other gang investigations by controlled

drug purchases, consensually recorded phone calls, as well as through independent

investigation, including surveillance and information from other sources. CS #1 is

cooperating with law enforcement to obtain consideration from the Milwaukee

County District Attorney’s Office related to narcotics trafficking convictions. CS #1

is a convicted felon with prior obstruction, carrying a concealed weapon, and

possession and distribution of narcotics convictions. For these reasons, case agents

believe CS #1 to be reliable.

      B.      Controlled Purchases of Controlled Substances from JONES

      14.     Based upon my training and experience, I know that a “controlled buy”

(and/or controlled contact) is a law enforcement operation in which a confidential

source purchases drugs from a target. The operation is conducted using

surveillance, usually audio and video taping equipment, and pre-recorded purchase

money. When a confidential source is used, s/he is searched for contraband,

weapons, and money before the operation. The confidential source is also wired with

a concealed body recorder and monitoring device. When the transaction is

completed, the confidential source meets cases agents at a pre-determined meet

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location and gives the purchased drugs and the recording/monitoring equipment to

the case agents. The confidential source is again searched for contraband, weapons,

and money. A sample of the suspected drugs is then field tested by case agents for

the presence of controlled substance and then placed in inventory pursuant to

normal inventory procedures. Telephone calls to the target by the confidential

source are consensually recorded calls under the direction and control of case agents

and made in the presence of case agents.

             1.    February 3, 2020, Controlled Purchase of Heroin

      15.    On February 3, 2020, CS #1 arranged to purchase heroin from

JONES. CS #1 advised CS #1 was successful in setting up a heroin purchase of

approximately 45 grams for $4,100 from JONES. CS #1 advised JONES was

waiting for CS #1 to call him to meet and conduct the transaction. CS #1 made a

consensually recorded phone call to the 9473 Phone, and JONES answered the

phone. CS #1 and JONES discussed meeting, and JONES told CS #1 to meet him

at the Popeye’s restaurant located at 1567 W. National Avenue in Milwaukee,

Wisconsin. Next, case agents provided CS #1 with a recording device and a total of

$4,100 pre-recorded money for the controlled purchase. Case agents established

surveillance in the area and observed CS #1 park in the parking lot. Case agents

observed JONES arrive in the parking lot driving a Nissan Maxima and park

behind CS #1. CS #1 entered JONES’ vehicle from the front passenger side and

then exited shortly thereafter. JONES was then observed exiting his vehicle and

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approaching CS #1 at CS #1’s vehicle and engage in what appeared to be a verbal

confrontation. JONES then returned to his vehicle and left the parking lot.

      16.     Case agents met and debriefed CS #1 after the narcotics purchase from

JONES. Case agents seized the suspected heroin and the recording devices. CS #1

indicated CS #1 arrived in the parking lot and called JONES at the 9473 Phone to

notify him that CS #1 was waiting in the parking lot. CS #1 observed JONES arrive

in the parking lot in the black Nissan Maxima and entered the front passenger seat

of JONES’ vehicle. CS #1 provided JONES $4,100 in cash, and JONES handed a

clear plastic sandwich bag from the center cup holder containing a grey rock-like

substance. CS #1 exited the vehicle and returned to CS #1’s vehicle when JONES

approached CS #1’s driver side door. JONES was upset because he believed CS #1

owed him $300. JONES then returned to his vehicle and left the parking lot. CS #1

believed JONES was keeping narcotics at a nearby storage unit because it takes

JONES a longer amount of time to arrive at a narcotics transaction when he lives

very close. JONES also told CS #1 he had to go out of town, which CS #1 believed

meant that JONES needed to get more narcotics, most likely from Chicago or

Detroit.

      17.     Case agents field tested the suspected heroin, which yielded positive

results for the presence of heroin and fentanyl, and weighed approximately 44.22

grams. A case agent reviewed the video of the narcotics transaction and determined

it was consistent with CS #1’s statements regarding the narcotics transaction. A

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case agent also positively identified JONES as the individual who met CS #1 in the

parking lot to conduct the narcotics transaction.

            2.     March 14, 2020, Controlled Purchase of Fentanyl

      18.    On March 14, 2020, CS #1 arranged to purchase fentanyl from

JONES. CS #1 advised CS #1 was successful in setting up a $2,000 fentanyl

purchase from JONES. CS #1 attempted to make a consensually recorded phone

call to the 9473 Phone, but JONES did not answer. Moments later, CS #1 received

a phone call from JONES. During the consensually recorded phone call, CS #1 and

JONES discussed meeting, and JONES told CS #1 to meet him at the Popeye’s

restaurant located at 1567 W. National Avenue in Milwaukee, Wisconsin. Next,

case agents provided CS #1 with a recording device and a total of $2,000 pre-

recorded money for the controlled purchase, and then established surveillance in

the area of 1567 W. National Avenue in Milwaukee, Wisconsin. Case agents

observed CS #1 park in the parking lot. After almost 40 minutes, case agents

observed JONES arrive in the parking lot driving a dark colored Audi and park

behind CS #1. JONES exited the front driver side of the Audi and entered CS #1’s

front passenger side. Moments later, JONES exited CS #1’s vehicle, returned to his

vehicle, and left the parking lot.

      19.    Case agents met and debriefed CS #1 after the narcotics purchase from

JONES. Case agents seized the suspected fentanyl and the recording devices. CS

#1 indicated CS #1 contacted JONES via phone and notified him CS #1 was waiting

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at the meet location. CS #1 stated CS #1 received a text message from JONES,

using the 9473 Phone, stating that JONES was on his way and that he’d be there

shortly. CS #1 observed JONES arrive in the parking lot in an unknown vehicle

and enter CS #1’s front passenger seat. JONES removed the fentanyl from his front

right pant pocket and placed it near the center console as CS #1 provided $2,000 in

cash to JONES. CS #1 stated JONES exited the vehicle and entered the vehicle

that he parked behind CS #1 and leave.

      20.    Case agents field tested the suspected fentanyl, which yielded positive

results for the presence of fentanyl, and weighed approximately 10.03 grams. The

fentanyl was double bagged, meaning it was packaged in two sandwich bags. Based

on my training and experience, I believe that this suggests JONES is aware of the

fatal effects fentanyl may have if touched or inhaled. A case agent reviewed the

video of the narcotics transaction and determined that it was consistent with CS

#1’s statements regarding the narcotics transaction. A case agent also positively

identified JONES as the individual who met CS #1 in the parking lot to conduct the

narcotics transaction.

              3.     May 1, 2020, Controlled Purchase of Heroin

      21.    On May 1, 2020, CS #1 arranged to purchase heroin from JONES for

$4,500. At the direction of case agents, CS #1 made a consensually recorded phone

call to the 9473 Phone, and JONES answered the phone. CS #1 and JONES

discussed meeting to purchase controlled substances, and JONES told CS #1 to

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meet him at the McDonald’s restaurant located at 1575 W. Washington Street in

Milwaukee, Wisconsin. Next, case agents provided CS #1 with a recording device

and a total of $4,500 pre-recorded money for the controlled purchase. Case agents

established surveillance in the area of 1575 W. Washington Street in Milwaukee,

Wisconsin.

      22.    Case agents conducted surveillance and observed a white Infinity

XQ80 parked outside the address of 1522 W. Orchard Street, Milwaukee,

PREMISES 2. Case agents observed the white Infinity XQ80 leave the address and

maintained surveillance of the vehicle until it arrived and parked outside the

address of PREMISES 1, JONES’ residence. Case agents observed JONES exit

the white Infinity XQ80 and enter PREMISES 1. A few minutes later, case agents

observed JONES exit PREMISES 1 and enter the front passenger side of a silver

Hyundai, which was parked in front of PREMISES 1. The silver Hyundai left the

address and arrived at PREMISES 2. Case agents then observed JONES exit the

silver Hyundai and enter PREMISES 2 while the Hyundai was waiting outside.

Moments later, JONES exited PREMISES 2 and re-entered the silver Hyundai.

      23.    Case agents conducted surveillance in the area of the buy location, the

McDonald’s restaurant located at 1575 W. Washington Street, and observed CS #1

arrive at the location. Case agents further observed the silver Hyundai arrive at the

location of the McDonald’s restaurant. Case agents observed what appeared to be

two suspected hand-to-hand narcotics transactions take place, neither of which

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involved CS #1. The first transaction involved an unknown white male who

approached the passenger side of the Hyundai and conducted a hand-to-hand

transaction, and the second transaction involved an unknown black male who

approached the front passenger door of the Hyundai momentarily and then left on

foot. Without meeting with CS #1, the silver Hyundai left the location and traveled

back to PREMISES 1, at which time case agents observed JONES exit the silver

Hyundai, retrieve an item from the mailbox, and re-enter the vehicle. The silver

Hyundai left the area traveling east on W. National Avenue.

      24.    Case agents communicated with CS #1, who indicated the transaction

would be delayed about one hour or so. During this time, case agents were notified

through court authorized warrants of “ping” locations for the 9473 Phone that

JONES traveled south towards Chicago and was not within the Milwaukee City

limits. Specifically, the 9473 Phone showed connections to towers located in the

area of 16598 W. Cherrywood Lane, Wadsworth, Illinois at 3:27 p.m., and in the

area of 1212 W. Grande Avenue, Chicago, Illinois at 4:09 p.m.

      25.    Upon learning that JONES was delayed, CS #1 departed the meet

location. However, while in route, CS #1 received a phone call from JONES, who

stated he would have his brother conduct the narcotics transaction. Accordingly, CS

#1 returned to the meet location and parked at address 1565 W. Scott Street facing

east. JONES notified CS #1, via phone call and text messages that his brother

would arrive shortly at the location driving a Red Monte Carlo.

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      26.    After approximately thirty minutes, at approximately 3:29 p.m., case

agents observed a Red Monte Carlo drive to and park directly behind CS #1’s

vehicle. Case agents observed CS #1 exit the vehicle and approach the front

passenger door of the Red Monte Carlo. CS #1 opened the front passenger door and

reached into the vehicle. Moments later, CS #1 returned to CS #1’s vehicle. Case

agents observed the Red Monte Carlo leave the location going east on W. Scott

Street.

      27.    Case agents met with and debriefed CS #1 after the narcotics purchase

from JONES’ brother. Case agents seized the suspected heroin and the recording

devices. CS #1 provided the following information. CS #1 indicated CS #1 arrived in

the parking lot and attempted to contact JONES multiple times to notify JONES

that CS #1 was waiting in the parking lot. CS #1 received a text message from

JONES stating he would be there in one hour or so. CS #1 talked to JONES over

the phone where JONES stated he was trying to get a hold of his brother to conduct

the drug transaction and would be driving a red Chevrolet Monte Carlo. CS #1 told

JONES where CS #1 was parked. CS #1 observed the red Chevrolet Monte Carlo

arrive and park behind CS #1’s vehicle. CS #1 approached the passenger door of the

red Chevrolet Monte Carlo and observed JONES’ brother in the driver seat and an

unknown black male in the front passenger seat. CS #1 opened the passenger door

and leaned into the vehicle. CS #1 provided JONES’ brother the pre-recorded

$4,500 in cash, and JONES’ brother pulled a clear plastic bag containing a light

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gray powdery/chunky-like substance and handed it to CS #1. CS #1 returned to

his/her vehicle and the red Chevrolet Monte Carlo left the area.

      28.    A field test revealed that the substance obtained from JONES’ brother

yielded positive results for the presence of heroin, methamphetamine, and fentanyl,

and weighed approximately 51.8 grams. Audio and video of the controlled purchase

was reviewed and determined to have captured only part of the transaction. A

review of the existing video was determined to be consistent with CS #1’s

statements regarding the attempt to meet with JONES to conduct the narcotics

transaction. Additionally, the observations made by case agents throughout the

narcotics transactions with JONES’ brother appeared to be consistent with the CS

#1’s statements.

              4.    May 26, 2020, Controlled Purchase of Heroin

      29.    On May 26, 2020, CS #1 arranged to purchase heroin from JONES.

Case agents met with CS #1, who advised CS #1 had been in contact with JONES

and indicated CS #1 would be purchasing ten grams of heroin in the future. CS #1

made a consensually recorded phone call to the 9473 Phone, and JONES answered

the phone. CS #1 and JONES discussed meeting today and CS #1 asked JONES to

meet in five minutes, which JONES acknowledged. CS #1 stated CS #1 didn’t need

to confirm the location as it was predetermined to be at McDonalds, located at 1575

W. Washington Street, Milwaukee, Wisconsin.




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      30.   Case agents provided CS #1 with a recording device and a total of $850

of pre-recorded money for the controlled purchase. Case agents established law

enforcement teams for surveillance at three locations: PREMISES 1, JONES’

residence; PREMISES 2, JONES’ stash apartment; and McDonalds located at

1575 W. Washington Street, Milwaukee, Wisconsin.

      31.   At approximately 12:20 p.m., surveillance observed JONES leave

PREMISES 1 and enter a gray Infiniti parked in the driveway. At approximately

12:36 p.m., and before the arrival of CS #1, surveillance observed JONES arrive at

the McDonalds located at 1575 W. Washington Street. Surveillance observed

JONES exit the vehicle and an unidentified white female enter the front passenger

seat. JONES returned to the vehicle and shortly thereafter the female left the

vehicle. JONES then left the area, and at approximately 12:40 p.m., JONES

arrived back at PREMISES 1. Case agents believe that this interaction between

JONES and the unidentified female is consistent with a drug transaction.

      32.   At approximately 12:49 p.m., CS #1 arrived at the McDonalds.

JONES was observed entering and exiting PREMISES 1 between 12:40 p.m. and

1:06 p.m. At approximately 1:06 p.m., CS #1 contacted JONES at the 9473 Phone,

and JONES asked if CS #1 was at the McDonalds. S #1 confirmed, and JONES

indicated he was on his way.

      33.    At approximately 1:10 p.m., surveillance observed JONES enter the

gray Infiniti and leave PREMISES 1. At approximately 1:14 p.m., surveillance

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observed JONES arrive at PREMISES 2 and enter the front door. At

approximately 1:28 p.m., CS #1 contacted JONES at the 9473 Phone, and JONES

told CS #1 he would be there in a few seconds. At approximately 1:34 p.m.,

surveillance observed JONES exit the front door of PREMISES 2 and enter the

gray Infiniti.

       34.       At approximately 1:35 p.m., surveillance observed JONES arrive at

the McDonalds operating the gray Infiniti. Surveillance observed CS #1 enter the

front passenger seat, close the door, and then subsequently exit the vehicle.

Moments after CS #1 left the vehicle, an unidentified white male entered the front

passenger seat of the vehicle. Case agents believe that this interaction between

JONES and the unidentified male is consistent with a drug transaction. At

approximately 1:36 p.m., CS #2 began to leave the parking lot of the McDonalds.

       35.       Case agents met and debriefed CS #1 after the narcotics purchase from

JONES. Case agents seized the suspected heroin and the recording devices. CS #1

indicated CS #1 arrived in the parking lot and attempted to make contact with

JONES three times and eventually received a call from JONES. In this call,

JONES confirmed CS #1 was at the McDonalds and indicated he would be there

shortly. After continuing to wait, CS #1 was able to contact JONES again, who

indicated he would be there in a few seconds. CS #1 observed a gray Infiniti arrive

at the location, at which time CS #1 entered the front passenger seat. CS #1

observed JONES was the driver and the sole occupant of the vehicle. CS #1

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observed approximately 10 grams of heroin on JONES’ lap. CS #1 also observed a

large clear sandwich bag containing approximately 30 grams of heroin individually

packaged in small amounts on the driver’s seat tucked near JONES’ groin area.

JONES handed CS #1 the narcotics as CS #1 provided the money to JONES. CS #1

exited the vehicle and believed another narcotics transaction was about to occur

with a white male. CS #1 indicated JONES frequently “lines up” multiple

customers at one time.

      36.    Case agents field tested the suspected heroin, which yielded positive

results for the presence of heroin, fentanyl, and methamphetamine, and weighed

approximately 10 grams. A case agent reviewed the video of the narcotics

transaction and determined it was consistent with CS #1’s statements regarding the

narcotics transaction.

              5.     July 8, 2020, Controlled Purchase of Heroin

      37.    On July 8, 2020, CS #1 arranged to purchase heroin from JONES.

Case agents met with CS #1, who advised CS #1 had been in contact with JONES

and indicated CS #1 would be purchasing ten grams of heroin in the future. CS #1

made a consensually recorded phone call to the 9473 Phone, and JONES answered

the phone. CS #1 and JONES discussed meeting, and JONES told CS #1 to meet at

McDonalds, which is known to CS #1 to be the McDonald’s located at 1575 W.

Washington Street, Milwaukee, Wisconsin. CS #1 made a second consensually

recorded phone call to the 9473 Phone, and JONES answered the phone. CS #1

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asked JONES how far away JONES was, and JONES replied that he was a couple

of minutes out. JONES then confirmed that CS #1 wanted “ten,” known to CS #1

to be ten grams of heroin.

      38.    Case agents provided CS #1 with a recording device and a total of $700

of pre-recorded money for the controlled purchase. Case agents established law

enforcement teams for surveillance at three locations: PREMISES 1, JONES’

residence; PREMISES 2, JONES’ apartment; and McDonalds located at 1575 W.

Washington Street, Milwaukee, Wisconsin.

      39.    At approximately 4:46 p.m., case agents observed a white Dodge

Caravan with Colorado registration plates AZFE20 park in a lot to the west of

PREMISES 2. Within a minute, case agents observed JONES, wearing a black

short sleeve shirt, black and gray shorts, and black shoes, exit the driver door of the

white Dodge Caravan. Case agents observed JONES walk in the direction of the

rear entrance door of PREMISES 2. However, agents were not in position to see

the rear door. At approximately 5:02 p.m., case agents, who had repositioned

themselves, observed JONES exit the rear door of PREMISES 2. Case agents

observed JONES, wearing a white and red backpack strapped on his back, walk to

the white Dodge Caravan, open the driver door, remove the backpack, and place the

backpack inside the vehicle. Then, case agents observed JONES enter the white

Dodge Caravan and drive southbound through the parking lot, east on W. Orchard

Street, and then north on S. 15th Street.

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      40.   At approximately 5:07 p.m., CS #1 arrived at the McDonalds. Case

agents observed CS #1 exit CS #1’s vehicle, walk towards JONES’ white Dodge

Caravan, and enter the front passenger seat. At approximately 5:09 p.m., case

agents observed JONES exit the white Dodge Caravan, get back in CS #1’s vehicle,

and leave the area. Simultaneously, case agents observed the white Dodge Caravan

traveling west on W. Scott Street and then north onto S. Cesar E. Chavez Drive.

Case agents in the area positively identified the driver of the white Dodge Caravan

as JONES.

      41.   At approximately 5:12 p.m., case agents observed the white Dodge

Caravan stop in front of the PREMISES 1 momentarily before driving to a nearby

gas station, where JONES filled up with gas. JONES then momentarily stopped in

the parking lot of the Popeyes located at 1567 W. National Avenue. At

approximately 5:24 p.m., case agents observed the Dodge Caravan parked in the

driveway of PREMISES 1.

      42.   At approximately 5:28 p.m., case agents met and debriefed CS #1 after

the narcotics purchase from JONES. Case agents seized the suspected heroin and

the recording devices. CS #1 indicated CS #1 drove to the McDonalds located at

1575 W. Washington Street and parked on the south side of the street, south of the

McDonalds parking lot. CS #1 stated JONES called CS #1 as CS #1 arrived and

asked where CS #1 was parked. CS #1 told JONES CS #1 was parked on the street

and not in the McDonalds parking lot. CS #1 stated JONES arrived in a white van

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on the north side of the street. CS #1 exited CS #1’s vehicle and entered the front

passenger seat of the van. CS #1 stated JONES already had the suspected

narcotics in his hand and provided it to CS #1. CS #1 provided JONES with the

$700 in pre-recorded cash. CS #1 stated CS #1 exited the van and re-entered CS

#1’s vehicle.

       43.      Case agents field tested the suspected heroin, which yielded positive

results for the presence of heroin and fentanyl, and weighed approximately 10

grams. A case agent reviewed the video of the narcotics transaction and determined

it was consistent with CS #1’s statements regarding the narcotics transaction.

       C.       Confidential Source #2

       44.      On March 5, 2020, case agents conducted surveillance of JONES at

PREMISES 1. Case agents have observed JONES at this residence frequently. On

this date, case agents observed JONES exit PREMISES 1 and enter a red

Chevrolet Camaro bearing Michigan plate DRW6101. Case agents surveilled

JONES as he met with an individual in the parking lot of an IHOP Restaurant

located at 1110 Miller Park Way, Milwaukee, Wisconsin. Case agents observed the

male at the driver’s side window speaking to JONES and then walk away from the

vehicle holding a bag. Case agents located the individual in a McDonald’s located

next to the IHOP Restaurant. The individual went to the restroom for

approximately 45 minutes, leading case agents to believe the individual was

involved in suspicious activity. Once the individual left McDonald’s, the Milwaukee

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Police Department conducted a field interview of the individual. The individual was

identified and later determined to be CS #2. During the interview, CS #2 admitted

to having a quantity of heroin inside the backpack that CS #2 had just purchased.

Located inside the backpack was, among other items, a small clear plastic container

with suspected heroin. CS #2 was arrested by Milwaukee Police Department for

possession of narcotics.

      45.    CS #2 was transported to a Milwaukee Police Department District. CS

#2 waived CS #2’s Miranda rights and provided the following information. CS #2

admitted to buying heroin from an individual CS #2 knows as “R.J.” before being

stopped by the police. CS #2 contacted R.J. via (414) 639-2843,2 the 2843 Phone, and

arranged to meet to purchase a quantity of heroin at the McDonald’s located on

Miller Parkway. R.J. arrived in a red Chevrolet Camaro and there was an unknown

female in the passenger seat. CS #2 gave R.J. $140 for approximately one gram of

heroin. CS #2 believed CS #2 has purchased heroin from R.J. on three dozen

occasions, usually in the amount of one gram per transaction. CS #2 indicated R.J.

is known to operate multiple vehicles during drug transactions, including the red

Camaro.



2Phone number (414) 639-2843 is subscribed to MACK MAN with address 6404 N. 76th
Street in Milwaukee, Wisconsin. However, based on the investigation, case agents believe
JONES is the user of this phone.




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      46.    A case agent showed a single Milwaukee Police Department booking

photograph of JEFFREY R. JONES, a/k/a JEFFERY JONES, (date of birth:

XX/XX/1984) to CS #2. CS #2 positively identified the photograph as the person CS

#2 knew as “R.J.”

      47.    On March 19, 2020, case agents interviewed CS #2. CS #2 indicated

that, in March 2019, R.J. approached CS #2 about starting a marijuana grow

operation for R.J. R.J. inquired about the ability to obtain a large quantity of

marijuana, between 50 and 100 pounds, from Colorado. R.J. discussed chartering a

plane for the transportation of the marijuana from Colorado to Wisconsin. R.J.

indicated his cousin in Illinois would be the one that would most likely run the

operation. CS #2 further stated that CS #2 has previously purchased heroin from

R.J. using the 2843 Phone.

      48.    Case agents believe CS #2 is reliable and credible. First, CS #2 has

provided information and cooperated with law enforcement since March 2020.

Second, CS #2’s information comes from CS #2’s personal involvement with JONES

and is consistent with case agent’s knowledge of JONES and JONES’ narcotics

trafficking activities in Milwaukee, Wisconsin. CS #2’s information about CS #2’s

trafficking relationship is also corroborated by the controlled buys that CS #1

conducted with JONES. CS #2 is cooperating with law enforcement to obtain

consideration from the Milwaukee County District Attorney’s Office for charges

related to possession of narcotics. CS #2 is a convicted felon with convictions for

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maintaining a drug trafficking place, manufacturing/delivering THC, resisting or

obstructing an officer, aggravated battery, probation violation, and disorderly

conduct. For these reasons, case agents believe CS #2 to be reliable.

        49.   On April 8, 2020, CS #2 conducted a consensually recorded phone call

to discuss a future narcotics transaction with JONES. CS #2 made a consensually

recorded phone call to the 2843 Phone, and JONES answered the phone. CS #2

asks JONES if he is still serving during the pandemic, and JONES says he has

been waiting for CS #2 to call. CS #2 indicated that CS #2 wanted a “whole,”

referring to one gram of heroin. JONES says alright and provides a location to

meet.

        50.   Case agents debriefed CS #2 after the consensually recorded phone call

with JONES. CS #2 stated CS #2 usually buys one-half of a gram or one gram of

heroin from JONES at a time and pays $140 for one gram of heroin. CS #2 stated

CS #2 did not think JONES would actually deliver the narcotics. Case agents

believe JONES would not drive to the location to conduct the narcotics transaction

due to it being located outside of Milwaukee County. The controlled buy for one

gram of heroin did not subsequently occur.

        D.    Identification of PREMISES 2 as JONES’ Stash Apartment

        51.   On April 26, 2020, case agents conducted surveillance at the

intersection of S. 8th Street and W. Greenfield Avenue in Milwaukee, Wisconsin

with the assistance of the court-authorized location data. Pursuant to court-

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authorized location information for the 2843 Phone, case agents received notice that

the 2843 Phone was in the area of 916-918 W. Greenfield Avenue. Case agents

observed a red convertible Chevrolet Camaro parked in the lot of a multi-unit

apartment complex located at 1522 W. Orchard Street, PREMISES 2, and

identified JONES enter the vehicle and drive northbound on S. 15th Street towards

W. Greenfield Avenue.

      52.    On April 27, 2020, case agents conducted surveillance at PREMISES

2. At approximately 11:20 a.m., case agents were notified through court-authorized

warrants of “ping” locations for the 2843 Phone, that the 2843 Phone was in the

vicinity of 1500-1550 W. National Avenue, which is near PREMISES 1. Between

approximately 11:36 a.m. and 4:52 p.m., agents received updates of the court-

authorized warrants of “ping” locations for the 2843 Phone, which showed

southbound travel from Milwaukee, Wisconsin to a location near 5400 Southport

Road in Portage, Indiana. The 2843 Phone then appeared to travel back to

Milwaukee. Additionally, during this time, the 9473 Phone, showed connections to

towers located in the area of 2720 S. 11th Street, Milwaukee, Wisconsin at 11:30

a.m., in the area of 556-562 Broadway, Gary, Indiana at 2:45 p.m., in the area of

13433 Three Oaks Road, Chikaming Township, Michigan at 4:17 p.m., in the area of

7405 S. Stony Island Avenue, Chicago, Illinois at 5:26 p.m., and in the area of 226

N. 33rd Street, Milwaukee, Wisconsin at 7:15 p.m.




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      53.    At approximately 7:22 p.m., which was about two hours and thirty

minutes after the 2843 Phone’s positional data indicated it was located in Portage,

Indiana, case agents received an updated “ping” near location 1500-1550 W.

National Avenue in Milwaukee, Wisconsin. At approximately 7:35 p.m., case agents

observed a red Chevrolet Camaro make a U-turn and park in front of PREMISES

2. Case agents observed JONES exit the driver side of the red Chevrolet Camaro

and retrieve a black duffle bag from inside the red Chevrolet Camaro. Based upon

the way in which the bag drooped down JONES’ back, the duffle bag appeared

heavy. JONES then entered the front door PREMISES 2.

      54.    Within minutes, case agents observed the lights go on in the

apartment located in the northwest corner of the top floor. While conducting the

surveillance, case agents did not observe any activity in this apartment until

JONES arrived. Within the window of the apartment that JONES entered, case

agents observed a camera, which is facing and overlooking the entry of the parking

lot, as depicted below.




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      55.    After approximately twenty minutes, case agents observed JONES

exit the front entry door of address PREMISES 2, enter the red Chevrolet Camaro,

and drive westbound on W. Orchard Street towards 15th Place. Case agents

observed the red Chevrolet Camaro had illegal aftermarket tint applied to the

window, and the visors inside the vehicle were flipped down.

      56.    In an attempt to confirm which apartment JONES is using at

PREMISES 2, case agents located a Milwaukee Police Department police call

record for a welfare check at 1522 W. Orchard Street, Apartment 10, on

November 21, 2019. Officers that responded to this location were wearing body

cameras, and case agents reviewed the footage. The footage tracks the officers’

movements through two locked entry doors, up a staircase until they reach the third

and top floor, north down a hallway, and stop in front of Apartment 10, which is

located in the northwest corner of the building on the top floor. There appears to be

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a “Ring” style video camera doorbell next to the entryway to Apartment 10.

Officers spoke with an individual identified as Kathy Jones (dob: XX/XX/1968).

Review of the body camera footage confirmed Apartment 10 as being the same

apartment that was observed having a light turned on shortly after JONES arrived

to and deposited a large duffel bag in the apartment complex on April 27, 2020.

      57.    Based on training, experience, and knowledge of this investigation,

case agents believe that JONES traveled to Portage, Indiana to obtain controlled

substances. The 9473 and 2843 Phones showed travel to that location, where

JONES stayed for only a short period of time. JONES then drove to PREMISES 2,

where agents believe JONES is using Apartment 10 as a stash location.

Consistent with the belief that this is a stash location, JONES carried a large bag

into the apartment, stayed for a short period of time, then left without the bag that

he carried in. Furthermore, JONES was operating a vehicle with aftermarket tint

and the visors flipped down, which are activities commonly used by drug traffickers

to conceal their identities.

      E.     PREMISES 1, 824 S. 18th Street Residence

      58.    On June 4, 2020, a case agent conducted an Accurint database search

for JONES. Accurint showed a residence for JONES as PREMISES 1 from March

2017, to October 2019.




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      59.    On June 4, 2020, a case agent conducted a City of Milwaukee property

records check for PREMISES 1. The record showed J PACIFIC VENTURES LLC

as the owner.

      60.    On July 15, 2020, case agents conducted a utility check for

PREMISES 1. The utilities check indicated Dequanna M. Bostick AKA Gilbert was

listed on the account for the residence.

      F.     PREMISES 2, 1522 W. Orchard Street, Apartment 10

      61.    On June 4, 2020, a case agent conducted an Accurint database check,

which showed PREMISES 2 as one address for Kathy Jones between August 2018,

and May 2020. Accurint also provided 1522 W. Orchard Street, Apartment 202,

Milwaukee, Wisconsin as an address for Kathy Jones for the same time period.

             a.     On June 4, 2020, a case agent conducted toll analysis for

telephone number (414) 745-6490, which was obtained as a phone number from a

utilities check in relation to Kathy Jones. The number believed to be used by Kathy

Jones was in contact with the 9473 Phone approximately 185 times and the 2843

Phone approximately 3 times. Based on this information, as well as additional

information acquired through this investigation, case agents believe Kathy Jones is

a family member to JONES.

      62.    On June 4, 2020, a case agent conducted a City of Milwaukee property

records check for PREMISES 2. The record showed PMWF ORCHARD LLC as the

owner of Apartment 10.

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      63.    On July 15, 2020, case agents conducted a utility check for

PREMISES 2. The utilities check indicated Kathy Jones was listed on the account

for the apartment.

      G.     Telephone Location Information Reflects JONES Continues to
             Travel Out-of-State to Obtain Controlled Substances

      66.    On June 14, 2020, between approximately 5:02 p.m. and 10:14 p.m.,

agents received updates of the court-authorized warrants of “ping” locations for the

2843 Phone, which showed southbound travel from Milwaukee, Wisconsin to a

location near 52590 Evergreen Road, Granger, Indiana. Shortly after arriving to

Indiana, the 2843 Phone then appeared to travel back to Milwaukee. Additionally,

the 9473 Phone showed connections to towers located in the area of 16598 W.

Cherrywood Lane, Wadsworth, Illinois at approximately 6:24 p.m., in the area of

3497 N. US Highway 35, La Porte, Indiana at approximately 7:57 p.m., in the area

of 6502 Grape Road, Mishawaka, Indiana at approximately 8:22 p.m., in the area of

3526 Keller Street, South Bend, Indiana at approximately 9:04 p.m., in the area of

5000 Central Avenue, Lake Station, Indiana at approximately 9:52 p.m., in the area

of 4401 E. 13th Place, Gary, Indiana at approximately 9:53 p.m., and in the area of

3120 S. Wentworth Avenue, Chicago, Illinois at approximately 10:20 p.m. Based

upon my training, experience, and knowledge of this investigation, to include the

short duration of this trip, I believe that JONES traveled to Indiana to facilitate his

drug trafficking. More specifically, case agents believe that JONES traveled to

meet with a narcotics supplier.
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      67.    On June 21, 2020, between approximately 12:35 a.m. and 7:10 a.m.,

agents received updates of the court-authorized warrants of “ping” locations for the

2843 Phone, which showed southbound travel from Milwaukee, Wisconsin to a

location near 16689 Bakertown Road, Buchanan, Michigan. Shortly after arriving to

Michigan, then 2843 Phone then appeared to travel back to Milwaukee.

Additionally, the 9473 Phone, showed connections to towers located in the area of

756 N. Goldring Road, La Porte, Indiana at approximately 4:12 a.m. and in the area

of 52369 Primrose Road, South Bend, Indiana at approximately 5:36 a.m. Based

upon my training, experience, and knowledge of this investigation, to include the

short duration of this trip, I believe that JONES traveled to Michigan to facilitate

his drug trafficking. More specifically, case agents believe that JONES traveled to

meet with a narcotics supplier.

                               TECHNICAL TERMS

      64.    Based on my training and experience, I use the following technical

terms to convey the following meanings:

             a.    IP Address: The Internet Protocol address (or simply “IP

address”) is a unique numeric address used by computers on the Internet. An IP

address looks like a series of four numbers, each in the range 0-255, separated by

periods (e.g., 121.56.97.178). Every computer attached to the Internet must be

assigned an IP address so that Internet traffic sent from and directed to that

computer may be directed properly from its source to its destination. Most Internet

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service providers control a range of IP addresses. Some computers have static—that

is, long-term—IP addresses, while other computers have dynamic—that is,

frequently changed—IP addresses.

               b.    Internet: The Internet is a global network of computers and

other electronic devices that communicate with each other. Due to the structure of

the Internet, connections between devices on the Internet often cross state and

international borders, even when the devices communicating with each other are in

the same state.

               c.    Storage medium: A storage medium is any physical object upon

which computer data can be recorded. Examples include hard disks, RAM, floppy

disks, flash memory, CD-ROMs, and other magnetic or optical media.

   COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

      71.      As described above and in Attachment B, this application seeks

permission to search for records that might be found on PREMISES 1 and 2, in

whatever form they are found. One form in which the records might be found is data

stored on a computer’s hard drive, cellular telephone, or other storage media. Thus,

the warrant applied for would authorize the seizure of electronic storage media or,

potentially, the copying of electronically stored information, all under Rule

41(e)(2)(B).

      72.      Probable cause. I submit that if a computer, cellular telephone, or

storage medium is found on PREMISES 1 and 2, there is probable cause to believe

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those records will be stored on that computer or storage medium, for at least the

following reasons:

             a.      Based on my knowledge, training, and experience, I know that

computer files or remnants of such files can be recovered months or even years after

they have been downloaded onto a storage medium, deleted, or viewed via the

Internet. Electronic files downloaded to a storage medium can be stored for years at

little or no cost. Even when files have been deleted, they can be recovered months or

years later using forensic tools. This is so because when a person “deletes” a file on

a computer, the data contained in the file does not actually disappear; rather, that

data remains on the storage medium until it is overwritten by new data.

             b.      Therefore, deleted files, or remnants of deleted files, may reside

in free space or slack space—that is, in space on the storage medium that is not

currently being used by an active file—for long periods of time before they are

overwritten. In addition, a computer’s operating system may also keep a record of

deleted data in a “swap” or “recovery” file.

             c.      Wholly apart from user-generated files, computer storage

media—in particular, computers’ internal hard drives—contain electronic evidence

of how a computer has been used, what it has been used for, and who has used it. To

give a few examples, this forensic evidence can take the form of operating system

configurations, artifacts from operating system or application operation, file system

data structures, and virtual memory “swap” or paging files. Computer users

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typically do not erase or delete this evidence, because special software is typically

required for that task. However, it is technically possible to delete this information.

              d.    Similarly, files that have been viewed via the Internet are

sometimes automatically downloaded into a temporary Internet directory or

“cache.”

      73.     Forensic evidence. As further described in Attachment B, this

application seeks permission to locate not only computer files that might serve as

direct evidence of the crimes described on the warrant, but also for forensic

electronic evidence that establishes how computers were used, the purpose of their

use, who used them, and when. There is probable cause to believe that this forensic

electronic evidence will be on any storage medium in PREMISES 1 and 2 because:

              a.    Data on the storage medium can provide evidence of a file that

was once on the storage medium but has since been deleted or edited, or of a deleted

portion of a file (such as a paragraph that has been deleted from a word processing

file). Virtual memory paging systems can leave traces of information on the storage

medium that show what tasks and processes were recently active. Web browsers, e-

mail programs, and chat programs store configuration information on the storage

medium that can reveal information such as online nicknames and passwords.

Operating systems can record additional information, such as the attachment of

peripherals, the attachment of USB flash storage devices or other external storage

media, and the times the computer was in use. Computer file systems can record

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information about the dates files were created and the sequence in which they were

created, although this information can later be falsified.

             b.     As explained herein, information stored within a computer and

other electronic storage media may provide crucial evidence of the “who, what, why,

when, where, and how” of the criminal conduct under investigation, thus enabling

the United States to establish and prove each element or alternatively, to exclude

the innocent from further suspicion. In my training and experience, information

stored within a computer or storage media (e.g., registry information,

communications, images and movies, transactional information, records of session

times and durations, internet history, and anti-virus, spyware, and malware

detection programs) can indicate who has used or controlled the computer or storage

media. This “user attribution” evidence is analogous to the search for “indicia of

occupancy” while executing a search warrant at a residence. The existence or

absence of anti-virus, spyware, and malware detection programs may indicate

whether the computer was remotely accessed, thus inculpating or exculpating the

computer owner. Further, computer and storage media activity can indicate how

and when the computer or storage media was accessed or used. For example, as

described herein, computers typically contain information that log: computer user

account session times and durations, computer activity associated with user

accounts, electronic storage media that connected with the computer, and the IP

addresses through which the computer accessed networks and the internet. Such

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information allows investigators to understand the chronological context of

computer or electronic storage media access, use, and events relating to the crime

under investigation. Additionally, some information stored within a computer or

electronic storage media may provide crucial evidence relating to the physical

location of other evidence and the suspect. For example, images stored on a

computer may both show a particular location and have geolocation information

incorporated into its file data. Such file data typically also contains information

indicating when the file or image was created. The existence of such image files,

along with external device connection logs, may also indicate the presence of

additional electronic storage media (e.g., a digital camera or cellular phone with an

incorporated camera). The geographic and timeline information described herein

may either inculpate or exculpate the computer user. Last, information stored

within a computer may provide relevant insight into the computer user’s state of

mind as it relates to the offense under investigation. For example, information

within the computer may indicate the owner’s motive and intent to commit a crime

(e.g., internet searches indicating criminal planning), or consciousness of guilt (e.g.,

running a “wiping” program to destroy evidence on the computer or password

protecting/encrypting such evidence in an effort to conceal it from law enforcement).

             c.     A person with appropriate familiarity with how a computer

works can, after examining this forensic evidence in its proper context, draw




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conclusions about how computers were used, the purpose of their use, who used

them, and when.

             d.     The process of identifying the exact files, blocks, registry entries,

logs, or other forms of forensic evidence on a storage medium that are necessary to

draw an accurate conclusion is a dynamic process. While it is possible to specify in

advance the records to be sought, computer evidence is not always data that can be

merely reviewed by a review team and passed along to investigators. Whether data

stored on a computer is evidence may depend on other information stored on the

computer and the application of knowledge about how a computer behaves.

Therefore, contextual information necessary to understand other evidence also falls

within the scope of the warrant.

             e.     Further, in finding evidence of how a computer was used, the

purpose of its use, who used it, and when, sometimes it is necessary to establish

that a particular thing is not present on a storage medium. For example, the

presence or absence of counter-forensic programs or anti-virus programs (and

associated data) may be relevant to establishing the user’s intent.

             f.     I know that when an individual uses a computer to operate a

website that is used for illegal conduct, the individual’s computer will generally

serve both as an instrumentality for committing the crime, and also as a storage

medium for evidence of the crime. The computer is an instrumentality of the crime

because it is used as a means of committing the criminal offense. The computer is

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also likely to be a storage medium for evidence of crime. From my training and

experience, I believe that a computer used to commit a crime of this type may

contain: data that is evidence of how the computer was used; data that was sent or

received; notes as to how the criminal conduct was achieved; records of Internet

discussions about the crime; and other records that indicate the nature of the

offense.

      74.     Necessity of seizing or copying entire computers or storage media. In

most cases, a thorough search of a premises for information that might be stored on

storage media often requires the seizure of the physical storage media and later off-

site review consistent with the warrant. In lieu of removing storage media from the

premises, it is sometimes possible to make an image copy of storage media.

Generally speaking, imaging is the taking of a complete electronic picture of the

computer’s data, including all hidden sectors and deleted files. Either seizure or

imaging is often necessary to ensure the accuracy and completeness of data

recorded on the storage media, and to prevent the loss of the data either from

accidental or intentional destruction. This is true because of the following:

              a.    The time required for an examination. As noted above, not all

evidence takes the form of documents and files that can be easily viewed on site.

Analyzing evidence of how a computer has been used, what it has been used for, and

who has used it requires considerable time, and taking that much time on premises

could be unreasonable. As explained above, because the warrant calls for forensic

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electronic evidence, it is exceedingly likely that it will be necessary to thoroughly

examine storage media to obtain evidence. Storage media can store a large volume

of information. Reviewing that information for things described in the warrant can

take weeks or months, depending on the volume of data stored, and would be

impractical and invasive to attempt on-site.

             b.     Technical requirements. Computers can be configured in several

different ways, featuring a variety of different operating systems, application

software, and configurations. Therefore, searching them sometimes requires tools or

knowledge that might not be present on the search site. The vast array of computer

hardware and software available makes it difficult to know before a search what

tools or knowledge will be required to analyze the system and its data on the

Premises. However, taking the storage media off-site and reviewing it in a

controlled environment will allow its examination with the proper tools and

knowledge.

             c.     Variety of forms of electronic media. Records sought under this

warrant could be stored in a variety of storage media formats that may require off-

site reviewing with specialized forensic tools.

      75.    Nature of examination. Based on the foregoing, and consistent with

Rule 41(e)(2)(B), the warrant I am applying for would permit seizing, imaging, or

otherwise copying storage media that reasonably appear to contain some or all of

the evidence described in the warrant, and would authorize a later review of the

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media or information consistent with the warrant. The later review may require

techniques, including but not limited to computer-assisted scans of the entire

medium, that might expose many parts of a hard drive to human inspection in order

to determine whether it is evidence described by the warrant.

      76.     It is possible that PREMISES 1 and 2 will contain storage media that

are predominantly used, and perhaps owned, by persons who are not suspected of a

crime. If it is nonetheless determined that that it is possible that the things

described in this warrant could be found on any of those computers or storage

media, the warrant applied for would permit the seizure and review of those items

as well.

                                   CONCLUSION

      77.     Based on the facts contained within this affidavit, I believe there is

probable cause to believe that JEFFREY R. JONES, a/k/a JEFFERY JONES,

committed the crimes of distribution of controlled substances, in violation of Title

21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

      78.     Based upon the facts contained within this affidavit I believe there is

probable cause for a warrant to search PREMISES 1 and 2 described in

Attachment A and seize the items described in Attachment B.




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                                 ATTACHMENT A

                               Property to be searched

1522 W. Orchard Street, Apartment 10, Milwaukee, Wisconsin, to include all

associated vehicles parked on the premises and outbuildings, at this address. This

property is used by Jeffrey/Jeffery Jones. This address is further described as a

three-story multiple unit apartment building that faces southward towards W.

Orchard Street. The front of the building consists of light red brick while the rest of

the building consist of light and dark brown brick. To the west of the building is a

parking lot connected to the building with a chain-link fence bordering the parking

lot. The entry for the parking lot faces southbound also towards W. Orchard Street.

Apartment 10 is located on the third floor on the northwest corner of the building.

There is one entry door to Apartment 10.




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                                   ATTACHMENT B

                                  Property to be seized

      1.       Evidence, fruits, and instrumentalities of violations of Title 21, United

States Code, Section 841(a)(1) (Distribution and possession with intent to distribute

controlled substances), those violations involving JEFFREY R. JONES, a/k/a

JEFFERY JONES, including:

           a. Controlled substances, controlled substance analogues, or listed
              chemicals;

            b. Paraphernalia associated with the manufacture and distribution of
               controlled substances including but not limited to materials and items
               used for packaging, processing, diluting, weighing, and distributing
               controlled substances, such as scales, funnels, sifters, grinders, glass
               panes and mirrors, razor blades, plastic bags, and heat-sealing devices;

            c. Duffel, canvas bags, suitcases, safes, or other containers to hold or
               transport controlled substances and drug trafficking related items and
               proceeds;

            d. Proceeds of drug trafficking activities, such as United States currency,
               precious metals, financial instruments, and jewelry, and documents and
               deeds reflecting the purchase or lease of real estate, vehicles, precious
               metals, jewelry or other items obtained with the proceeds from drug
               trafficking activities;

            e. Firearms, ammunition, magazines, gun boxes, firearm purchase records
               or receipts, and other paraphernalia associated with firearms;

            f. Bank account records, loan documents, wire transfer records, money
               order receipts, postal express mail envelopes, bank statements, safe
               deposit box keys and records, money containers, financial records and
               notes showing payment, receipt, concealment, transfer, or movement of

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    money generated from the sale of controlled substances, or financial
    transactions related to the trafficking of controlled substances;

 g. Drug or money ledgers, drug distribution or customer lists, drug
    supplier lists, correspondence, notations, logs, receipts, journals, books,
    records, and other documents noting the price, quantity, and/or times
    when controlled substances were obtained, transferred, sold,
    distributed, and/or concealed;

 h. Personal telephone books, address books, telephone bills, photographs,
    letters, cables, telegrams, facsimiles, personal notes, receipts,
    documents and other items or lists reflecting names, addresses,
    purchases, telephone numbers, addresses and communications
    regarding illegal activities among and between members and associates
    involved in drug trafficking activities;

 i. Records of off-site storage locations, including but not limited to safe
    deposit box keys and records, and records and receipts and rental
    agreements for storage facilities;

 j. Cellular telephones, Smartphones, text messaging systems, and other
    communication devices, and all electronic storage areas on the device
    including stored telephone numbers, recently called numbers list, text
    messages, digital audio and/or video recordings, pictures, settings, and
    any other user defined settings and/or data, as well as any records
    associated with such communications services used to commit drug
    trafficking offenses;

 k. Records, items and documents reflecting travel for the purpose of
    participating in drug trafficking activities, such as passports, airline
    tickets, bus tickets, vehicle rental receipts, credit card receipts, taxi cab
    receipts, hotel and restaurant receipts, canceled checks, maps, and
    records of long distance calls reflecting travel;

 l. Indicia of occupancy, residency or ownership of the premises and things
    described in the warrant, including utility bills, telephone bills, loan
    payment receipts, rent receipts, trust deeds, lease or rental agreements,
    addressed envelopes, escrow documents and keys;

 m. Photographs, videotapes or other depictions of assets, firearms,
    coconspirators, or controlled substances; and
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      2.       Computers, cellular telephones, or storage media used as a means to

commit the violations described above;

      3.       For any computer or storage medium whose seizure is otherwise

authorized by this warrant, and any computer or storage medium that contains or

in which is stored records or information that is otherwise called for by this warrant

(hereinafter, “COMPUTER”):

            a. evidence of who used, owned, or controlled the COMPUTER at the
               time the things described in this warrant were created, edited, or
               deleted, such as logs, registry entries, configuration files, saved
               usernames and passwords, documents, browsing history, user profiles,
               email, email contacts, “chat,” instant messaging logs, photographs, and
               correspondence;

            b. evidence indicating how and when the computer was accessed or used
               to determine the chronological context of computer access, use, and
               events relating to crime under investigation and to the computer user;

            c. evidence indicating the computer user’s state of mind as it relates to
               the crime under investigation;

            d. evidence of the attachment to the COMPUTER of other storage devices
               or similar containers for electronic evidence;

            e. evidence of counter-forensic programs (and associated data) that are
               designed to eliminate data from the COMPUTER;

            f. evidence of the times the COMPUTER was used;

            g. passwords, encryption keys, and other access devices that may be
               necessary to access the COMPUTER;

            h. documentation and manuals that may be necessary to access the
               COMPUTER or to conduct a forensic examination of the COMPUTER;

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          i. records of or information about Internet Protocol addresses used by the
             COMPUTER;

          j. records of or information about the COMPUTER’s Internet activity,
             including firewall logs, caches, browser history and cookies,
             “bookmarked” or “favorite” web pages, search terms that the user
             entered into any Internet search engine, and records of user-typed web
             addresses;

          k. contextual information necessary to understand the evidence described
             in this attachment.

      As used above, the terms “records” and “information” includes all forms of

creation or storage, including any form of computer or electronic storage (such as

hard disks or other media that can store data); any handmade form (such as

writing); any mechanical form (such as printing or typing); and any photographic

form (such as microfilm, microfiche, prints, slides, negatives, videotapes, motion

pictures, or photocopies).

      The term “computer” includes all types of electronic, magnetic, optical,

electrochemical, or other high speed data processing devices performing logical,

arithmetic, or storage functions, including desktop computers, notebook computers,

mobile phones, tablets, server computers, and network hardware.

      The term “storage medium” includes any physical object upon which

computer data can be recorded. Examples include hard disks, RAM, floppy disks,

flash memory, CD-ROMs, and other magnetic or optical media.

      This warrant authorizes a review of electronic storage media and

electronically stored information seized or copied pursuant to this warrant in order
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to locate evidence, fruits, and instrumentalities described in this warrant. The

review of this electronic data may be conducted by any government personnel

assisting in the investigation, who may include, in addition to law enforcement

officers and agents, attorneys for the government, attorney support staff, and

technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of

the seized or copied electronic data to the custody and control of attorneys for the

government and their support staff for their independent review.




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